Case 21-03000-sgj Doc 14-11 Filed 01/10/21           Entered 01/10/21 17:55:17      Page 1 of 1




November 30, 2020

Charitable DAF GP, LLC
4140 Park Lake Avenue, Suite 600
Raleigh, North Carolina 27612
Attention: Grant Scott

        RE:      Termination of Second Amended and Restated Investment Advisory
                 Agreement, dated January 1, 2017, by and among Highland Capital
                 Management, L.P. (“HCMLP”), Charitable DAF Fund, L.P., and Charitable
                 DAF GP, LLC (the “Agreement”).

To Whom It May Concern:

As set forth in Section 13 of the Agreement, the Agreement is terminable at will upon at least 90
days advance written notice.

By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
will be effective 90 days from the date hereof. HCMLP reserves the right to rescind this notice
of termination.

Please feel free to contact me with any questions.

Sincerely,

HIGHLAND CAPITAL MANAGEMENT, L.P.

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Chief Executive Officer
Chief Restructuring Officer




DOCS_NY:41559.1 36027/002

                                                                         EXHIBIT 15
